                   Case: 3:17-cr-00091-wmc Document #: 17 Filed: 03/01/18 Page 1 of 1



PS42
(Rev. 71'J3)


                                         United States District Court
                                                        Western Wisconsin


                   United States of America                   )
                                                              )
                             vs.                              )
                                                              )
      Stephanie M Johnson                                     )                Case No. [0758 3:17CR00091]-[00Jl .


                       CONSENT TO MODIFY CONDITIONS OF RELEASE
I, Stephanie M Johnson                                         , have discussed with Traci L. Jacobs
Pretrial Services/Probation Officer, modifications of my release conditions as follows: .

In light of the defendant's ongoing mental health concerns, the defendant has agreed to forgo a review hearing and
consentto a modification of the defendant's pretrial release conditions to include the following condition:

26. Defendant shall participate in mental health assessment, treatment, and counseling as approved and directe4 by.
Pretrial Services. Defendant shall follow all treatment directives and take any medication prescribed by defendant's
treatment provider, as approved by Pretrial Services. Defendant shall waive any patient-provider privilege as to this
process so that Pretrial Services may oversee it properly. Defendant is responsible for obtaining funding for any required
treatment, counseling or medications, with assistance from Pretrial Services.
I consent to this modification of my release conditions and agree to abide by this modifications.


AfLM«t~
 ign       of Dcll:n
                                          J/'111f!t cfu·~w
                                          Da(e          fficer    Pretrial SCl\lices/Probatio             Date


                             itions with my client and concur that this.modification is appropriate. : · ·


S i ~ o Defense Counsel
  /            .
~ The above modification of conditions of release is ordered, to be effective on
D The above modification o         onditions of release is not ordered.


ru.,,w.ofi,M,ld j                                                                                  Date
